Case 11-10245-MFW   Doc 2009-2   Filed 08/27/21   Page 1 of 5




                    EXHIBIT B
                           Case 11-10245-MFW           Doc 2009-2       Filed 08/27/21   Page 2 of 5




Date        Timekeeper   Description                                          Amount     Adversary     Billing Code   Activity Code
                                                                              of Time    Name
2/24/2012   GDU          EM defense counsel with AR credit demand and         .3         Monster LLC   L120              A107
                         backup
3/2/2012    GDU          Review settlement letter re AR credits from          .5         Monster LLC   L160              A104
                         defendant
3/20/2012   GDU          EMs to and review from Defense counsel re            1.1        Monster LLC   L160              A107
                         settlement of AR claim
3/21/2012   GDU          EMs to and review from Defense counsel re            .3         Monster LLC   L160              A107
                         settlement of AR claim
4/24/2012   GDU          Draft settlement agreement                           1.2        Monster LLC   L160              A103
5/4/2012    GDU          Review revised settlement agreement from             .8         Monster LLC   L160              A104
                         Defendant
5/11/2012   GDU          EM to Trustee re settlement language                 .3         Monster LLC   L160              A106
5/17/2012   GDU          EM to Trustee re settlement language                 .1                       L160              A106
5/21/2012   GDU          Revise settlement agreement; EM to Defendant re      .5         Monster LLC   L160              A103
                         the same
5/31/2012   GDU          EM to and from defendant re settlement release       .4         Monster LLC   L160              A107
                         language
6/1/2012    GDU          EM from Defendant with revisions to settlement       .7         Monster LLC   L160              A107
                         agreement
6/6/2012    GDU          EM to Defendant with revisions to settlement         .3         Monster LLC   L160              A107
                         agreement
6/8/2012    GDU          EM from Defendant with revisions to settlement       .2         Monster LLC   L160              A107
                         agreement
6/10/2012   GDU          Review and Execute final settlement agreement        .2         Monster LLC   L160              A104
6/19/2012   GDU          EM with Defendant re confirmation of receipt of      .2         Monster LLC   L160              A107
                         settlement payment
7/30/2012   GDU          Draft 9019 motion for settlement approval            1.7        Monster LLC   L160              A103
                    Case 11-10245-MFW           Doc 2009-2         Filed 08/27/21   Page 3 of 5




                                                                         8.28       Total
                                                                                    Monster Time
5/4/2012    GDU   TC with Trustee re settlement of preference and        .2         Toshiba        L160   A106
                  vendor credits
5/8/2012    GDU   EM to Defendant re settlement of AR credits claim      .4         Toshiba        L160   A107
5/22/2012   GDU   Review EM from Defendant re settlement of AR           .3         Toshiba        L160   A104
                  credit claim
6/5/2012    GDU   EM to Defendant re settlement of AR credit claim       .5         Toshiba        L160   A107
6/11/2012   GDU   EM to Defendant re settlement of AR credits claim      .5         Toshiba        L160   A107
                  including back up documents
6/29/2012   GDU   TC with mediator re mediation of AR credit             .6         Toshiba        L160   A107
7/23/2012   GDU   Review Defendants position letter and                  1.4        Toshiba        L120   A104
                  documentation re AR credit claim
7/24/2012   GDU   EM to Trustee re settlement of AR credit claim         .2         Toshiba        L160   A106
7/25/2012   GDU   TC with Trustee re settlement of AR vendor credit      .2         Toshiba        L160   A106
                  claim
7/25/2012   GDU   EM to Defendant re settlement of AR credit claim       .2         Toshiba        L160   A107
7/25/2012         EM from Defendant re AR Credit Claim                   .1         Toshiba        L160   A107
7/30/2012   GDU   Draft settlement agreement; EM to Defendant re         1.3        Toshiba        L160   A103
                  same
8/24/2012   GDU   EM from Defendant re status of revisions               .3         Toshiba        L160   A107
8/28/2012   GDU   EM from Defendant with revised settlement              .6         Toshiba        L160   A107
                  agreement; review the same
8/29/2012   GDU   EM to Defendant with settlement agreement              .4         Toshiba        L160   A107
                  comments
9/13/2012   GDU   EM from Defendant with further settlement              .3         Toshiba        L160   A107
                  agreement comments and revisions; review the same
9/24/2012   GDU   EM to Jim Horne re settlement                          .2         Toshiba        L160   A107
9/25/2012   GDU   EM to Defendant with executed copy of settlement       .2         Toshiba        L160   A107
                  agreement
10/4/2012   GDU   Draft 9019 settlement approval motion                  1.1        Toshiba        L160   A103
                    Case 11-10245-MFW            Doc 2009-2       Filed 08/27/21   Page 4 of 5




                                                                          9        Total Toshiba
                                                                                   Time
10/22/201   GDU   Review credit analysis; Draft mediation statement       1.3      Synnex          L160   A103
2                 with inclusion of AR credit claim and analysis
                                                                          1.3      Total Synnex
                                                                                   Time
5/15/2012   GDU   EM from and to Jim Van Horne re mediation               .2       Samsung         L160   A107
                  scheduling for AR credits
5/30/2012   GDU   L VM for Jim Van Horne; EM to Jim Van Horne re          .3       Samsung         L160   A107
                  mediation scheduling
6/19/2012   GDU   EM with credit analysis back up from Trustees office;   1.2      Samsung         L160   A106
                  review the same
6/19/2012   GDU   Draft and finalize mediation statement concerning AR    .9       Samsung         L160   A103
                  credit claim and analysis
6/25/2012   GDU   EM to and from Mike lnfanti re additional AR credit     .4       Samsung         L160   A107
                  claim back up
6/25/2012   GDU   Attend mediation                                        3        Samsung         L160   A109
6/29/2012   GDU   EM to and from defense counsel requesting credit        2.1      Samsung         L120   A107
                  claim defense back up; review the same
7/9/2012    GDU   Draft settlement agreement; EM to defendant re          1.2      Samsung         L160   A103
                  same
7/11/2012   GDU   EM to and from Defendant re revisions to settlement     .6       Samsung         L160   A107
                  agreement
7/11/2012   GDU   review additional back up to AR credit defense          .4       Samsung         L160   A104
7/23/2012   GDU   EMs with Trustee re AR settlement                       .3       Samsung         L160   A106
7/24/2012   GDU   EMs to and from Jim Van Horne re settlement of AR       .3       Samsung         L160   A107
                  claim
7/25/2012   GDU   Multiple EMs with defense counsel re final revisions    .6       Samsung         L160   A107
                  to settlement agreement
7/27/2012   GDU   Draft 9019 Settlement approval motion                   1.3      Samsung         L160   A103
7/30/2012   GDU   EM to Defendant with w-9 and payment information        .2       Samsung         L160   A107
                    Case 11-10245-MFW            Doc 2009-2     Filed 08/27/21   Page 5 of 5




                                                                         13      Total Samsung
                                                                                 Time
8/6/2012    GDU   Review AR credit claims and supporting documents       1       Sony            L120   A104
8/6/2012    GDU   EM To and from Mike Infanti re AR Credit claims        .3                      L120   A107
8/6/2012    GDU   EM To and from Bruce G. re AR Credit claims            .3                      L120   A107
8/6/2012    GDU   TC with Bruce re: AR credit claims                     .3                      L120   A107
8/6/2012    GDU   Draft Mediation Statement                              2.3                     L160   A103
8/9/2012    GDU   Attend mediation re AR credit and preference claims    2.3     Sony            L160   A109
8/10/2012   GDU   Draft settlement agreement                             .7      Sony            L160   A103
                                                                         7.2     Total Sony
                                                                                 Time
8/3/2012    GDU   TC with defense counsel re AR credit claim; EM to      .8      VPD             L120   A107
                  Defense counsel re same
8/9/2012    GDU   TC and EM with defense counsel re AR credit analysis   .66     VPD             L120   A107
8/14/2012   GDU   TC and EM with defense counsel re AR credit analysis   .5      VPD             L120   A107
                  and resolution
8/30/2012   GDU   EM to and from defense counsel with AR Credit          1.2     VPD             L120   A107
                  analysis supporting documentation
                                                                         3.1     Total VPD
                                                                                 Time

                                                                         42.4    TOTAL
                                                                                 ULTIMATE
                                                                                 TIME
